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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                      §
                                                  §
                                                  §
               Plaintiffs,                        §
                                                  §
 v.                                               §    Civil Action No. 4:20-cv-00957-SDJ
                                                  §
 GOOGLE LLC,                                      §
                                                  §
                                                  §
               Defendant.                         §


                   DEFENDANT GOOGLE LLC’S UNOPPOSED MOTION
                              TO FILE UNDER SEAL

          Defendant Google LLC (“Google”) respectfully moves to seal its September 20, 2024

Motion to Strike Improper Rebuttal Opinions of Plaintiffs’ Experts David DeRamus and Anil

Somayaji (“Motion to Strike”) and the exhibits thereto, which include nine expert reports proffered

by the parties to this action and designated as Highly Confidential (together, the “Expert

Reports”). 1 Pursuant to Local Rule CV-5(a)(7)(E), Google will file a redacted copy of the Motion

to Strike within seven days.

                                       LEGAL STANDARD

          While the “public’s right of access to judicial proceedings is fundamental” and creates a

default presumption “that judicial records should not be sealed,” Binh Hoa Le v. Exeter Fin. Corp.,




      These reports are: Expert Report of Jeffrey S. Andrien (Ex. 2); Expert Report of Jacob Hochstetler
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(Ex. 3); Expert Report of Professor Steven N. Wiggins (Ex. 4); Expert Report of Douglas Skinner (Ex. 5);
Expert Report of Martin Rinard, PhD (Ex. 6); Expert Rebuttal Report of David W. DeRamus, Ph.D. (Ex.
7); Rebuttal Expert Report of Anil Somayaji, PhD (Ex. 8); Expert Rebuttal Report of Jeffrey S. Andrien
(Ex. 9); and Expert Report of Paul R. Milgrom (Ex. 10). Pursuant to Paragraph 20 of the Court’s December
13, 2023 Confidentiality Order (Dkt. 182), Google hereby informs the Court that each of these reports was
designated Highly Confidential Information by the party that served it.
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990 F.3d 410, 418-19 (5th Cir. 2021), this right of access “is not absolute.” Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 598 (1978). Courts have properly limited the public’s right of

access to protect “sources of business information that might harm a litigant’s competitive

standing.” Nixon, 435 U.S. at 598.

       In deciding whether to allow public access to judicial records, the Court must exercise its

discretion “in light of the relevant facts and circumstances of the particular case,” balancing “the

public’s common law right of access against the interests favoring nondisclosure.” Vantage Health

Plan, Inc. v. Willis-Knighton Med. Ctr., 913 F.3d 443, 450 (5th Cir. 2019) (quoting Nixon, 435

U.S. at 599, and S.E.C. v. Van Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993)).

                                          ARGUMENT

       The Court should permit Google to file under seal the Motion to Strike and Expert Reports

because they reflect non-public, highly sensitive commercial and technological information that,

if disclosed publicly, would likely cause Google competitive harm.

       Courts routinely recognize that the interest in nondisclosure of sensitive commercial

information outweighs the public’s right of access to court records. See, e.g., Nixon, 435 U.S. at

598 (“[C]ourts have refused to permit their files to serve . . . as sources of business information

that might harm a litigant’s competitive standing.”). Here, Google’s Motion to Strike describes in

detail the reports of Plaintiffs’ experts Jeffrey Andrien and David DeRamus, Google’s experts

Steven Wiggins and Douglas Skinner (including their respective discussions and analyses of

confidential financial information), and Plaintiffs’ expert Anil Somayaji (including his discussion

of proprietary source code). Google, with input from Plaintiffs, will shortly file a redacted version

of the Motion to Strike, so that properly public information and argument (issues of law, in

particular) are made public. Further, with respect to the Expert Reports attached as exhibits to the




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Motion to Strike, each is designated Highly Confidential for good reason, as they detail not only

Google’s confidential commercial and technological information but also confidential information

provided by non-parties to the case. Google’s interest in nondisclosure, and that of nonparties

providing confidential information in this case, outweighs the public’s right of access to judicial

records, so the Court should permit these documents to be filed under seal. See, e.g., Conn Credit

I, LP v. TF Loanco III, LLC, No. 1:14-CV-429, 2016 WL 8231153 at *1 (E.D. Tex. May 9, 2016)

(granting motion to seal expert report that contained confidential business information); Dickey’s

Barbecue Pit, Inc. v. Neighbors, No. 4:14-cv-484, 2015 WL 13466613 at *5 (E.D. Tex. Jun. 5,

2015) (certain exhibits to be kept under seal where it was “obvious” litigant had “invested time

and money into” materials and “[a]llowing a potential competitor to take this information at no

cost from a public court document could result in harm” to litigant).

                                        CONCLUSION

       For these reasons, Google respectfully moves the Court for an order to file under seal the

Motion to Strike and attached Expert Reports.

Dated: September 20, 2024                     Respectfully submitted,

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                                              ATTORNEYS FOR DEFENDANT GOOGLE LLC




                                CERTIFICATE OF SERVICE

       I certify that on September 20, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).


                                                            /s/ Kathy D. Patrick
                                                            Kathy D. Patrick




                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(i), I certify that the meet and confer requirements in Local

Rule CV-7(h) have been met, and that this motion is unopposed. From September 18th through

September 20th, counsel for the parties conferred on this issue by email and telephone. Plaintiffs,

though counsel, advised that they do not oppose this Motion to Seal and that they will be available

after the filing to confer regarding what portion of the Motion can be unsealed.


                                                            /s/ Kathy D. Patrick
                                                            Kathy D. Patrick



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